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NOT FOR PUBLICATION


                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,

                                       Plaintiff,                                     ORDER
                             V.
                                                                                      I $-cr-00379-01 (WHW)
 GERMATNE H. KING,

                                       Defendant.



Wal]s, Senior District Judge

         Defendant King requests this Court to modify the conditions of his pretrial release.1 Mr.

King is charged with fifteen counts of felony fraud. ECF No. $3. He is currently out on bail in

the form of a $250,000 unsecured appearance bond. ECF No. 65. Mr. King requests that (1) he

be allowed to visit Morgan State University to assist his stepdaughter in moving out of her

college dorm; (2) a “reasonable curfew be awarded” to assist in seeing his children during his

visitation days; (3) the Pretrial Services Office make decisions for travel requests.

         The Court grants (1) Mr. King the ability to travel to Morgan State University on

December 13, as it has before. See ECF Nos. 69, 72, $0. However, the (2) current curfew set by

pretrial services will not be disturbed, and (3) this Court alone will continue to oversee the

modification of travel conditions.

DATE:



                                                         Senior United States District Court Judge



  Mr. King did not properly file his motion via electronic filing so as to notify all parties, and instead faxed his letter
to the Court. All parties are reminded to consult the local rules before filing any motions.
